                              Case
                       Amendment adds19-10277-KKS     Doc 15 Filed 11/06/19
                                      creditor AT&T Uverse/DirecTV                                                                        Page 1 of 11
              Fill in this information to identify your case:

 Debtor 1                   Delmar Leon Douglas, II
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number            1:19-bk-10277
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $              55,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              41,900.89

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $              96,900.89

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             103,616.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                  $              30,303.05


                                                                                                                                     Your total liabilities $                 133,919.05


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                 $                 2,219.23

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 2,127.50

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
                                  Case 19-10277-KKS                   Doc 15        Filed 11/06/19            Page 2 of 11
 Debtor 1     Douglas, Delmar Leon II                                                        Case number (if known) 1:19-bk-10277

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $   3,081.53


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
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                                            Amendment adds
                                    Case 19-10277-KKS   Doccreditor AT&T
                                                             15 Filed    Uverse/DirecTV
                                                                       11/06/19   Page 3 of 11
      Fill in this information to identify your case:

 Debtor 1                  Delmar Leon Douglas, II
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number           1:19-bk-10277
 (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          American Credit Acceptance                             Last 4 digits of account number         1001                                                       $8,547.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?             8/17
              961 E Main St
              Spartanburg, SC 29302-2185
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                         Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
              At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a    community             Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Auto loan deficiency.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 6
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                                  Case 19-10277-KKS                      Doc 15             Filed 11/06/19            Page 4 of 11
 Debtor 1 Douglas, Delmar Leon II                                                                   Case number (if known)            1:19-bk-10277

 4.2      Americredit Financial Services, Inc.                  Last 4 digits of account number       5875                                            $5,643.10
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           5/14
          1580 N Lincoln St Ste 600
          Denver, CO 80203-1508
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
          At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Auto loan deficiency.


 4.3      AT&T Uverse/DirecTV                                   Last 4 digits of account number       4629                                             $889.99
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           6/18
          PO Box 5014
          Carol Stream, IL 60197-5014
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Satellite service


 4.4      Badcock & More                                        Last 4 digits of account number       0718                                            $1,501.73
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          190 NW Phosphate Blvd
          Mulberry, FL 33860-2327
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Consumer loan deficiency.




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 6
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 Debtor 1 Douglas, Delmar Leon II                                                                   Case number (if known)            1:19-bk-10277

 4.5      Capital One Bank, USA N.A.                            Last 4 digits of account number       7092                                             $926.42
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           3/17
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card.


 4.6      Condalet Herring                                      Last 4 digits of account number                                                       $2,250.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           9/19
          7889 SW 122nd St
          Gainesville, FL 32608-5735
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Personal loan


 4.7      First National Bank                                   Last 4 digits of account number       8378                                            $5,820.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2016-07-01
          1620 Dodge St # MSC 4440
          Omaha, NE 68197-0003
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 6
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                                  Case 19-10277-KKS                      Doc 15             Filed 11/06/19            Page 6 of 11
 Debtor 1 Douglas, Delmar Leon II                                                                   Case number (if known)            1:19-bk-10277

 4.8       Optimum                                              Last 4 digits of account number       2214                                                 $1,227.90
           Nonpriority Creditor's Name
                                                                When was the debt incurred?
           PO Box 660943
           Dallas, TX 75266-0943
           Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify      Medical.


 4.9       Resurgent Capital                                    Last 4 digits of account number       3420                                                    $716.00
           Nonpriority Creditor's Name
                                                                When was the debt incurred?           8/17
           PO Box 10497
           Greenville, SC 29603-0497
           Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims

           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify      Credit card.


 4.10      Shands UF                                            Last 4 digits of account number       2214                                                 $2,780.91
           Nonpriority Creditor's Name
                                                                When was the debt incurred?
           1600 SW Archer Rd, Box 100337
           Gainesville, FL 32610-3003
           Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims

           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify      Medical

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 6
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                                  Case 19-10277-KKS                        Doc 15           Filed 11/06/19                 Page 7 of 11
 Debtor 1 Douglas, Delmar Leon II                                                                       Case number (if known)       1:19-bk-10277
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Americredit Financial Services                             Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 c/o Corporation Service Co.                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 1201 Hays St
 Tallahassee, FL 32301-2699
                                                            Last 4 digits of account number                    5875
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Americredit Financial Services, Inc.                       Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 78143                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85062-8143
                                                            Last 4 digits of account number                    5875
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank, USA N.A.                                 Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238-1119
                                                            Last 4 digits of account number                    7092
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank, USA N.A.                                 Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 71083                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28272-1083
                                                            Last 4 digits of account number                    7092
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank, USA N.A.                                 Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 71087                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28272-1087
                                                            Last 4 digits of account number                    7092
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit One                                                 Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 98872                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Las Vegas, NV 89193-8872
                                                            Last 4 digits of account number                    3420
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 DirecTV                                                    Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 105503                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30348-5503
                                                            Last 4 digits of account number                    4629
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Fnb Omaha                                                  Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 3412                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Omaha, NE 68103
                                                            Last 4 digits of account number                    8378
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 GM Financial                                               Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 183853                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Arlington, TX 76096-3853
                                                            Last 4 digits of account number                    5875
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 GM Financial                                               Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 181145                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Arlington, TX 76096-1145
                                                            Last 4 digits of account number                    5875
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Gulf Coast Collection Bureau                               Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 21239                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Sarasota, FL 34276-4239
                                                            Last 4 digits of account number                    2214
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 6
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                                    Case 19-10277-KKS                       Doc 15           Filed 11/06/19                 Page 8 of 11
 Debtor 1 Douglas, Delmar Leon II                                                                         Case number (if known)        1:19-bk-10277
 Gulf Coast Collection Bureau                                Line 4.10 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 5630 Marquesas Cir                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Sarasota, FL 34233-3331
                                                             Last 4 digits of account number                      2214
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV Funding LLC                                            Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 10497                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Greenville, SC 29603-0497
                                                             Last 4 digits of account number                      3420
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Resurgent Capital/LVNV Funding,                             Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 10466
 Greenville, SC 29603-0466
                                                             Last 4 digits of account number                      3420
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 UF Health - Shands Hospital                                 Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 100005                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30348-0005
                                                             Last 4 digits of account number                      2214

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                   30,303.05

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                   30,303.05




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 6
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                                               Amendment adds creditor AT&T Uverse/DirecTV

      Fill in this information to identify your case:

Debtor 1                    Delmar Leon Douglas, II
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

Case number              1:19-bk-10277
(if known)
                                                                                                                            Check if this is an
                                                                                                                               amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Delmar Leon Douglas, II                                       X
             Delmar Leon Douglas, II                                            Signature of Debtor 2
             Signature of Debtor 1

             Date       November 6, 2019                                        Date
             Case 19-10277-KKS         Doc 15     Filed 11/06/19     Page 10 of 11




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

IN RE: Delmar Leon Douglas, II                              Case No.: 19-10277-KKS
                                                            Chapter 7
            Debtor.
__________________________________/

     CERTIFICATE OF SERVICE OF AMENDED SCHEDULE F AND AMENDED
                              SUMMARY
       I HEREBY CERTIFY that a true and correct copy of Amended Schedule F and Amended
Summary of Assets and Liabilities has been furnished by U.S. mail or electronic notification on

this 6th day of November, 2019, by electronic notification through CM/ECF to: Theresa Bender

at tmbenderch7@yahoo.com and to the United States Trustee at
USTPRegion21.TL.ECF@usdoj.gov, and that a copy of said Amendments along with a copy of

the Notice of Commencement of Case including, pursuant to 11 U.S.C. §342(c), the complete

Social Security number of the debtor, have been furnished by U.S. Mail on this date the 6th day of

November, 2019, to the following:

       AT&T Uverse/DirecTV
       PO Box 5014
       Carol Stream, IL 60197-5014

       DirecTV
       PO Box 105503
       Atlanta, GA 30348-5503

       Christina Douglas
       27002 NW 46th Ave
       Newberry, FL 32669

        This amendment adds creditor AT&T Uverse/DirecTV and the disputed co-obligor
Christina Douglas
                                           /s/ Eric S. Ruff
                                         Eric S. Ruff
                                         RUFF & COHEN, P. A.
                                         4010 Newberry Road, Suite G
                                         Gainesville, Florida 32607
                                         (352) 376-3601
                                         Attorneys for Debtor
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Amendment to Matrix

Add the following creditors:

       AT&T Uverse/DirecTV
       PO Box 5014
       Carol Stream, IL 60197-5014

       DirecTV
       PO Box 105503
       Atlanta, GA 30348-5503

       Christina Douglas
       27002 NW 46th Ave
       Newberry, FL 32669
